      Case 17-10979-GLT                       Doc 92
 Fill in this information to identify the case:
                                                          Filed 02/20/23 Entered 02/20/23 14:44:03                          Desc Main
                                                          Document     Page 1 of 5
B 10 (Supplement 2) (12/11)           (post publication draft)
 Debtor 1              Norman E. Vollentine
                       __________________________________________________________________


 Debtor 2                Stephanie A. Vollentine
                        ________________________________________________________________
 (Spouse, if filing)

                                         Western
 United States Bankruptcy Court for the: ______________________             PA
                                                                District of __________
                                                                             (State)
 Case number            17-10979
                        ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                                10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information


                                  KeyBank N.A. as s/b/m to First Niagara Bank N.A.                           Court claim no. (if known):
 Name of creditor:                ______________________________________
                                                                                                             13
                                                                                                             _________________
                                                                                         0 ____
                                                                                       ____  0 ____
                                                                                                2 ____
                                                                                                    0
 Last 4 digits of any number you use to identify the debtor’s account:

 Property address:                 3272       Dublin Rd
                                  ________________________________________________
                                  Number     Street

                                  _______________________________________________

                                   Waterford                  PA     16441-2184
                                  ________________________________________________
                                  City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:

       Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.

       Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date               $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:

       Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:              ____/_____/______
                                                                                 MM / DD / YYYY

       Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                         (a)     1,795.32
                                                                                                                                  $ __________
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                                +   (b)   $ __________

        c. Total. Add lines a and b.                                                                                        (c)     1,795.32
                                                                                                                                  $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became               1 0 1 5 2022
                                                                                 ____/_____/______
        due on:                                                                  MM / DD / YYYY


Form 4100R                                                 Response to Notice of Final Cure Payment                                    page 1
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Debtor 1         Norman E.                     Vollentine
                _______________________________________________________                                               17-10979
                                                                                                                     18-71774
                                                                                              Case number (if known) _____________________________________
                First Name      Middle Name               Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
   all payments received;
   all fees, costs, escrow, and expenses assessed to the mortgage; and
   all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

        I am the creditor.
        I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




               __________________________________________________
                /s/Elliott R Spirakus
                   Signature
                                                                                              Date    0 2 1207 2 0 2 3
                                                                                                      ____/_____/________




 Print             Elliott                R                Spirakus
                   _________________________________________________________                  Title   Senior Specialist
                                                                                                      ___________________________________
                   First Name                      Middle Name         Last Name




 Company           KeyBank N.A. as s/b/m to First Niagara Bank N.A.
                   _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address           4910              Tiedeman Road
                   _________________________________________________________
                   Number                 Street


                   Brooklyn                           OH 44144
                   ___________________________________________________
                   City                                                State       ZIP Code




 Contact phone      866 _____–
                   (______) 325 _________
                                 9723                                                               BK_SPECIALISTS@KEYBANK.COM
                                                                                              Email ________________________




Form 4100R                                                        Response to Notice of Final Cure Payment                                       page 2
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                                                          Post-Petition Payments




        12/27/2017   $   1,896.64
         1/20/2018   $   3,497.67
          2/1/2018   $   1,896.64
          3/1/2018   $   1,531.90
          4/2/2018   $   1,896.64
         4/30/2018   $   1,898.62
         5/30/2018   $   1,825.60
         6/27/2018   $   1,778.86

          8/1/2018 $     1,611.12
         8/31/2018 $     1,687.72
         9/28/2018 $     1,708.32

         11/1/2018   $   1,819.43
        11/30/2018   $   1,836.25
        12/28/2018   $   1,846.47
         1/30/2019   $   1,852.66

         3/28/2019 $     3,715.88   $   2,776.47   $   939.41

          5/6/2019 $     1,859.61   $   1,430.27   $   429.34
         5/30/2019 $     1,880.14   $   1,406.54   $   473.60

          7/1/2019   $   1,901.59   $   1,452.76   $   448.83
          8/2/2019   $   1,930.80   $   1,472.72   $   458.08
          9/3/2019   $   1,722.04   $   1,286.10   $   435.94
         9/27/2019   $     120.90   $     120.90

         11/4/2019   $   4,052.66   $   3,169.94   $   882.72
         12/2/2019   $     287.92   $      86.31   $   201.61
          1/3/2020   $   3,327.07   $   2,493.83   $   833.24
         1/31/2020   $   1,621.69   $   1,241.33   $   380.36
         2/28/2020   $   1,985.81   $   1,613.17   $   372.64
         3/26/2020   $     314.50   $     314.50

          5/6/2020   $   3,965.11   $   3,183.45   $   781.66
          6/1/2020   $   2,052.21   $   1,455.46   $   596.75
          7/1/2020   $   1,745.90   $   1,484.49   $   261.41
          8/5/2020   $   1,745.61   $   1,506.14   $   239.47
         9/21/2020   $   1,397.64   $   1,397.64
         10/6/2020   $     309.47   $     106.36   $   203.11
         10/6/2020   $      38.35                  $    38.35
        10/23/2020   $     285.22   $     285.22
        10/23/2020   $   1,204.21   $   1,204.21
        10/23/2020   $      37.89                  $    37.89
        10/23/2020   $     218.08                  $   218.08

         12/9/2020 $     3,543.78   $   3,114.20   $   429.58

         2/10/2021   $   1,055.95   $   1,055.95
         2/10/2021   $     264.10   $     264.10
         2/10/2021   $     290.04   $     272.82   $    17.22
         2/10/2021   $     192.82                  $   192.82
          3/5/2021   $     953.14   $    948.83    $     4.31
          3/5/2021   $     262.92   $    262.92
          3/5/2021   $     264.97   $    250.06    $    14.91
          3/5/2021   $     461.77   $    262.92    $   198.85
          3/5/2021   $       6.39                  $     6.39
          3/5/2021   $     240.43   $     41.86    $   198.57




          7/1/2021   $     32.16    $     32.16
          7/1/2021   $      4.31                   $     4.31
          7/1/2021   $      3.63                   $     3.63
          7/1/2021   $    451.91    $    262.92    $   188.99
          7/1/2021   $    118.66                   $   118.66
          8/3/2021   $     14.93    $     10.62    $     4.31
          8/3/2021   $    438.59    $    262.92    $   175.67
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         10/4/2021   $   372.38   $   262.92   $   109.46
         10/4/2021   $   458.55   $   262.92   $   195.63
         10/4/2021   $    68.59                $    68.59
         11/2/2021   $   328.80   $   262.92   $    65.88
         11/2/2021   $   120.96                $   120.96
         12/1/2021   $   111.41   $   107.10   $     4.31
         12/1/2021   $   338.35   $   143.54   $   194.81
        12/29/2021   $   123.69   $   119.38   $     4.31
                     $   326.07   $   144.83   $   181.24
         1/31/2022   $   415.67   $   262.92   $   152.75
         1/31/2022   $    51.39                $    51.39
         2/28/2022   $   263.74   $   259.43   $     4.31
         2/28/2022   $   194.67   $   155.02   $    39.65




          6/8/2022   $   112.21   $   107.90   $     4.31
          6/8/2022   $   346.20   $   181.40   $   164.80
          6/8/2022   $   391.51   $   262.92   $   128.59
          6/8/2022   $    66.90   $    28.85   $    38.05
          6/8/2022   $   239.25   $   234.07   $     5.18
          6/8/2022   $   219.16   $   182.41   $    36.75
          7/5/2022   $    86.70   $    80.51   $     6.19
          7/5/2022   $   371.71   $   176.65   $   195.06
          8/1/2022   $     6.19                $     6.19
          8/1/2022   $   452.22   $   247.55   $   204.67
         8/31/2022   $    21.56   $    15.37   $     6.19
         8/31/2022   $   436.85   $   206.36   $   230.49

         10/6/2022 $      62.75   $    56.56   $     6.19
         10/6/2022 $     471.26   $   170.77   $   300.49
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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF PENNSYLVANIA

 In Re: Norman E. Vollentine                           Case No. 17-10979
        Stephanie A. Vollentine
         ,                                             Chapter 13

                                  Debtor(s).



                                     CERTIFICATE OF SERVICE

         I hereby certify that on the 2/20/2023, I electronically filed a Response to Notice of Final Cure
with the Clerk of the Bankruptcy Court using the CM/ECF system which sent electronic notification of
such filing to the following:


Debtor(s) Attorney
Jeffery G. Herman


Trustee
Ronda J. Winnecour



        And, I hereby certify that I have mailed via the United States Postal Service the Response to
Notice of Final Cure to the following non CM/ECF participants:



Debtor
Norman E. Vollentine
Stephanie A. Vollentine
3272 Dublin Rd
Waterford, PA 16441



                                                        /s/Elliott R Spirakus
                                                        Bankruptcy Specialist
                                                        KeyBank N.A.
